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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DION JOHNSON,                                     :
                                                  :
                               Plaintiff,         :           CIVIL ACTION NO. 19-4960
                                                  :
       v.                                         :
                                                  :
ROBERTS, Director of Chester County               :
Prison; White #609, Correctional Officer;         :
JOHN DOE #981, Correctional Officer;              :
HAWTHORNE #777, Correctional Officer;             :
and TOMKNSON #1077, Correctional                  :
Officer,                                          :
                                                  :
                               Defendants.        :

                                              ORDER

       AND NOW, this 19th day of October, 2020, after considering the amended complaint and

motion for appointment of counsel filed by the pro se plaintiff, Dion Johnson (Doc. Nos. 10, 11);

and for the reasons set forth in the separately filed memorandum opinion, it is hereby ORDERED

as follows:

       1.       The amended complaint (Doc. No. 10) is DEEMED filed;

       2.       The amended complaint (Doc. No. 10) is DISMISSED WITH PREJUDICE for

the failure to state a claim, pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii);

       3.       The motion for appointment of counsel (Doc. No. 11) is DENIED; and

       4.       The clerk of court shall MARK this matter as CLOSED.


                                                      BY THE COURT:



                                                      /s/ Edward G. Smith
                                                      EDWARD G. SMITH, J.
